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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
vs.                                            )   CRIMINAL NO. 09-40069-4-GPM
                                               )
KASS A. BARNES,                                )
                                               )
                     Defendant.                )

                         MEMORANDUM AND ORDER
MURPHY, District Judge:

       This matter is before the Court on the Motion for Order Allowing Marshal to Release

Psychological Report brought by Defendant Kass A. Barnes (Doc. 124). The Court finds that the

motion is well taken and it is hereby GRANTED. The United States Marshals Service is directed

to produce to counsel for the parties in this matter copies of the psychological evaluation of

Kass Barnes prepared by a psychologist at the Saline County Jail on November 9, 2009.

       IT IS SO ORDERED.

       DATED: November 24, 2009


                                                   /s/ G. Patrick Murphy
                                                   G. PATRICK MURPHY
                                                   United States District Judge




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